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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
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                                                             NEW ORLEANS, LA 70130

                               May 15, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-10326      Braidwood Mgmt Incorporated v. Becerra
                        USDC No. 4:20-CV-283

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Melissa V. Mattingly, Deputy Clerk
                                  504-310-7719
Mr.   Daniel J. Aguilar
Ms.   Connie K. Chan
Ms.   Barbara Chisholm
Mr.   Charles William Fillmore
Ms.   Madeline Gitomer
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